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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                          :
In re                                                     :   Chapter 11
                                                          :
ALPHA ENTERTAINMENT LLC,                                  :   Case No. 20-10940 (LSS)
                                                          :
                  Debtor.1                                :
                                                          :
----------------------------------------------------------x

            DECLARATION OF JEFFREY N. POLLACK IN SUPPORT OF THE
              DEBTOR’S BID PROCEDURES MOTION AND USE OF CASH
           COLLATERAL IN RESPONSE TO THE COMMITTEE’S OBJECTION

         I, Jeffrey N. Pollack, hereby declare under penalty of perjury, pursuant to section 1746 of

title 28 of the United States Code, as follows:

         1.       Since February 5, 2019, I have served as the President and Chief Operating

Officer of Alpha Entertainment LLC (the “Debtor” or the “Company”), which does business as

the XFL, a professional American football league. In my capacity as the Debtor’s President and

Chief Operating Officer, I am familiar with the Debtor’s day-to-day operations and business and

financial affairs.

         2.       I have more than 25 years of executive experience in the sports industry with

leadership roles at The Sports Business Daily, the National Basketball Association, NASCAR,

the World Series of Poker, an NFL team, and other prominent organizations. I have a Bachelor’s

degree from the Medill School of Journalism at Northwestern University and a Master’s degree

in sports management from the University of Massachusetts at Amherst.




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  The last four digits of the Debtor’s federal tax identification number are 7778. The Debtor’s mailing address is
1266 East Main St., Stamford, CT 06902.
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       3.      I submit this declaration (the “Declaration”) in support of the Debtor’s motion to

establish bidding procedures, and approval of the Debtor’s request for use of cash collateral.

Except as otherwise indicated, all statements set forth in this Declaration are based upon my

personal knowledge, information supplied to me by other members of the Debtor’s management

or the Debtor’s professionals, my review of relevant documents, or my opinion based upon my

experience and knowledge of the Debtor’s operations and financial conditions. If called as a

witness, I could and would competently testify to the matters set forth in this Declaration.

  I.   Cash Collateral Negotiations

            a. Background Information

       4.      Prior to the Petition Date, the XFL provided high-energy professional football,

reimagined for the 21st century with many innovative elements designed to bring fans closer to

the players and the game they love, during the time of year when they wanted more football.

Just weeks after the first XFL games were played, however, the worldwide COVID-19 pandemic

forced every major American sports league to suspend, if not cancel, their seasons. On March

20, 2020, the XFL canceled the remainder of its inaugural season, costing the nascent league tens

of millions of dollars in revenue. The impossibility of knowing when the pandemic would

sufficiently abate and allow the league to restart only exacerbated the problems posed by the

Debtor’s abrupt loss of revenue and unabated operating costs.

       5.      With no incoming game day and ticket sales receipts due to the season’s

cancellation from the COVID-19 pandemic and resulting shutdown of the XFL’s normal

operations, Vince McMahon, founder of the Debtor, provided rescue financing to the Debtor in

the form of a prepetition note (the “Prepetition Note”). The Prepetition Note provided the

Company with up to $7 million in liquidity. The Prepetition Note was secured by all of the



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Debtor’s assets and carried an interest rate of four and one-quarter percent (4.25%) per annum.

Subsequently, the Prepetition Note was amended to increase the maximum principal amount to

$9 million. The Prepetition Note provided the Company with the liquidity to satisfy its payroll

and employee-related obligations, including the payout of accrued vacation to the employees

terminated shortly prior to the commencement of the Debtor’s chapter 11 case (the “Chapter 11

Case”).

            b. The Appointment of the Independent Manager

       6.      Shortly after the cancellation of the XFL season, the Debtor appointed an

independent manager, John Brecker of Drivetrain, LLC. Mr. Brecker has been authorized by the

Debtor’s board to evaluate and approve any sale, financing or restructuring matters of the Debtor

involving any insider of the Debtor. The Debtor’s resolution also provided the mechanism by

which Vince McMahon recused himself from all financing and restructuring decisions on behalf

of the Debtor in the Chapter 11 Case.

       7.      Since his appointment, Mr. Brecker has overseen the negotiations with respect to

the Prepetition Note, the postpetition financing, and he has played, and will continue to play, an

integral role in the overall sale and restructuring process.

            c. The Need for Use of Cash Collateral

       8.      The Debtor requires the use of cash collateral in order to, among other things,

engage in a sale and marketing process for the Debtor’s assets. For this process to be successful,

the Debtor will require the dedication of, and assistance from, its few remaining employees, as

well as guidance from its professional advisors. The Debtor must have access to cash collateral

so that it may satisfy its postpetition obligations to these individuals, who will be entirely

responsible for maximizing the value of the Debtor’s assets during the Chapter 11 Case.



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       9.      Moreover, the Debtor needs access to cash collateral in order to conduct an

orderly wind down of its business, reducing unnecessary costs and expenses, while maintaining

and protecting those assets that are likely to yield value as part of the sale process. Given the

unique nature of the XFL, and its nationwide footprint, the Debtor’s business is not simple to

wind down. The Debtor operated a high-profile professional football league with teams located

in eight (8) major markets, strategically placed to capture national attention and key

demographics across the country, and the Debtor also operated a corporate headquarters located

in an additional state. The Debtor’s employees were spread throughout the United States and

performed various services associated with the XFL, including, among others: football-specific

services directly related to game day preparation and execution; marketing, public relations and

sponsorship services that were key to successfully developing wide-spread attention and

revenues for the XFL; and the front office services of the eight football teams and the XFL as a

league, which all laid the groundwork for the XFL’s success as a business enterprise. The wind

down of the Debtor’s business, while the sale process is pending, will require that consideration

be paid to these, as well as other aspects of the Debtor’s affairs so that while its business is

wound down, value is not destroyed. And, although it likely goes without saying, the wind down

of the Debtor’s business has been, and will be further complicated by the unprecedented

COVID-19 pandemic. Because the Debtor’s offices are (or, in some cases, were) situated

throughout the country, and state jurisdictions have enacted stay-at-home and essential/non-

essential work orders, the Debtor has faced unparalleled difficulties in coordinating the retrieval

of employee personal effects, as well as gathering and storing the Debtor’s tangible assets.

       10.     Finally, the use of cash collateral is necessary to maintain the infrastructure and

support the go-forward operating model of the XFL, which will allow for the possibility of



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restarting the league in 2021. Although the Debtor’s employees and professionals have worked,

and will continue to work, tirelessly to reduce and otherwise eliminate costs while the Chapter 11

Case is pending, certain assets must be maintained if the ability to restart the league in the spring

of 2021 is to be preserved. These assets include, among other things, the Debtor’s intellectual

property, including trademarks and digital content; football equipment for all eight (8) teams;

technology infrastructure; league- and team-branded merchandise; and corporate headquarters

infrastructure. Based on my experience, with an understanding of the XFL and the Debtor’s

business, preserving these and other key assets so that the possibility of a 2021 season remains

intact, is necessary to maximizing value through the sale process. On the other hand, if the

Debtor’s limited framework of remaining assets is not maintained while the Chapter 11 Case is

pending, the potential exists that the XFL will be stripped of its going-concern value at great cost

to the Debtor’s creditors and stakeholders. The challenges of running a professional football

league are complicated and unique. Therefore, unless the Debtor is permitted to maintain its

core group of assets, it will be improbable, if not impossible, for the XFL to be relaunched in the

near future.

       11.     Absent the Debtor’s ability to use cash and pay the expenses provided in the

budget, the value of the business will be jeopardized. The Debtor underwent a detailed process,

in consultation with its advisors, to prepare a budget that eliminates unnecessary expenses, yet

allows the Debtor to accomplish its goals in the Chapter 11 Case and ultimately provide for a

value-maximizing sale. The Debtor has continued to refine the budget and has been successful

in reducing costs that were originally budgeted by approximately $600K.




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             d. The Sale Milestones

       12.      In accordance with negotiating the use of cash collateral, the Debtor and the

prepetition secured lender negotiated for sale milestones. The prepetition secured lender

originally proposed a 60-day sale timeline, but the Debtor was successful in negotiating an

additional thirty (30) days in order to provide for a more fulsome process. And, following

further discussions with the prepetition secured lender, the Debtor has been able to negotiate an

additional three (3) weeks of time to market and sell the assets.

       13.      Although I understand that the additional time by which the Debtor has been able

to extend the sale process is beneficial, I also understand that there is risk associated with

extending the process as the Official Committee of Unsecured Creditor Creditors (the

“Committee”) suggests. Specifically, any further extension of the process significantly

jeopardizes the ability to restart the XFL in the spring of 2021 and capture and maintain the

significant, positive, national momentum achieved this past season for the XFL brand. If the

Debtor’s sale process is extended by sixty (60) days, bids would likely suffer because potential

bidders would be forced to calculate bids based on the increased risk of not being able to

generate revenue until 2022. Further, the Debtor’s budget reflects that the Debtor will not have

cash collateral to operate and achieve its chapter 11 goals if the process is extended.

       14.      I believe that the sale process timeline proposed by the Debtor balances the desire

of the Debtor to run a fulsome and transparent marketing process, against the Debtor’s liquidity

constraints and ordinary course expenses.




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 II.   The Sale and Bidding Procedures

             a. The Bidding Procedures and Sale Process are Fair and Reasonable

       15.      Since April 13, 2020, when the Debtor filed the Chapter 11 Case, and prior to the

Debtor’s engagement of Houlihan Lokey (“Houlihan”), numerous parties contacted me and

expressed interest in purchasing the Debtor’s assets.

       16.      Since the Debtor’s engagement of Houlihan, additional parties have expressed an

interest in pursuing a potential transaction with the Debtor. Specifically, I have been informed

that Houlihan’s discussions with potential buyers have developed substantial interest across

many different companies, agencies, high net worth individuals and private equity groups. With

considerable input from the Debtor’s employees, Houlihan has also developed a teaser and

comprehensive information memorandum on the XFL that accurately and positively reflects the

value of the brand to a potential purchaser.

             b. Timing of the Sale

       17.      Based on my experience and knowledge of the Debtor, I feel that it is important to

pursue and consummate a sale no later than the first week of August in order to position the

Debtor to relaunch the XFL in the spring of 2021. I believe that a potential purchaser will

recognize the importance of holding a 2021 XFL season in order to avoid the risk created by a

new market entrant. The formula for the success of the XFL is unique, but the notion of

professional spring football is not. Moreover, in running the XFL, we recognized that, in part,

the success of the league is dependent upon the timing of its season. Any purchaser of the

Debtor’s assets will likely agree that important keys to the XFL’s success are capitalizing on the

lack of football following the conclusion of the NFL season, and commencing the XFL season

after the Super Bowl and prior to the start of the MLB season, and the NHL and NBA playoffs.



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A potential XFL relaunch in the spring of 2021 is only possible, in my opinion, with the

consummation of a transaction no later than the first week of August. I personally have spoken

with various bidders interested in the prospect of a transaction for the Debtor’s assets and none

have expressed concerns about the sale process timeline.

       18.     In sum, extending the sale process as the Committee suggests only jeopardizes the

value of the XFL brand. The XFL is positioned for a sale within the proposed timeline in order

to capitalize on the positive attention and acclaim of the league in its inaugural year. I believe

that if the Debtor is forced to extend the process beyond the first week of August, the Debtor will

suffer from not just incremental operational cost, but lost opportunity cost and potential loss of

value if competitors step in, players and coaches find new opportunities and venues and even

fans move on from their relationship with the XFL.

III.   CONCLUSION

       For all the reasons described herein and in the Reply, I respectfully request that the Court

grant the relief requested and approve the bidding procedures and use of cash collateral.


 Dated: May 26, 2020                                  /s/ Jeffrey N. Pollack
                                                      Jeffrey N. Pollack




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